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AO 133 (Rev. i2/'09) Bill ofCosts

UNITED STATES DISTRICT COURT

 

for the
District of Connecticut |:‘
Donna Parris )
)
_ _ V. ) Case No.: 3210-CV-‘i128-WWE
Char|:e Pappas, Robln pelaney, Anna Alexis )
LLCl Normandles Park LLC )
BILL OF COSTS
ludgment having been entered in the above entitled action on 02/13@012 _ against h ALL Defendants ,
the Clerk is requested to tax the following as costs: Dme
Fees of the Clerk .................................................................. $ fiM
Fees for service of summons and Subpoena .............................................. 4BT '00 _
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case ...... 1'261’00
Fees and disbursements for printing ....................................................
Fees for witnesses (iremize mr page maj ................................................... 102'00
Fees for exeniplification and the costs of` making copies of any materials where the copies are
necessarily obtained for use in the case ................................................. g
Docl<et fees under 28 U.S.C. 1923 ..................................................... j
Costs as shown on Mandate of Court of Appeals .......................................... _ j
Colnpensation of court~appointed experts ................... , ........................... _ j
Cornpensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....
Otber costs Q)Iease tremize) ............................................................. _
TOTAL $ 2,194.00

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categoriesl

 

I)eelaration

 

l declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the

services for which fees have been charged were actually and necessarily performed A copy of this hill has been served on all parties

in the following manner:

 

E|ectronic service |:| First class mail, postage prepaid
|:| Other: ‘ ,,
' - "`)
S/' Attorney: _ /» /M /
\ r/

 

 

Name ofAttorney:'Timoihy Bennett-Smy_t__h

 

 

For: DOnrla Pa[ris Date: ii 02_/24/2012

 

Narne ofCim'mi.-rg Part_}=

 

Ta)ration of Costs

 

Costs arc taxed in the amount of 7 and included in the judgmentl

By:

 

 

Clerk ofCom't Depuly C.t'erk Date _

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AO i33 [Rcv. 12t'09) Bi|] ofCoSls

UNITED STATES DisTRICT CoUR'r

 

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

 

 

 

 

 

 

 

 

 

 

 

ATTENDANCE SUBSISTENCE MILEAGE
Total Cost
NAME , Ci`l`Y AND STATE OF RESIDENCE Total Total Total Each Witness
Days Cost Days Cost Miles Cost
Bradley Kitf, Dayville, CT
‘i 40.00 198 102.00 $102.00
$0.0G
$o.oo
$0.00
$U,OO
$0.00
To'rAL 3102.00
NOTICE

Section 1924, Title 28, U.S. Code (et"fective Septen\l)er 1, I948) provides:
“Sec. 1924. Veriiication of biil of costs.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an aflidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in part as foilows:
“A bill of costs shall be filed in the case and, upon ailowance, included in the judgment or decree.”

The Federal Ru!es of Civil Proeedure contain the following provisions:
RU'LE Sd(d}(l)

Costs Otber than Attomeys’ Fees.

Unless a federal statute, these ruies, or a court order provides otherwise, costs _ other than attomey's fees should be allowed to the
prevailing party. But costs against the United States, its ottieers, and its agencies may be imposed only to the extent allowed by law. ri`he clerk
may tax costs on E4 day's notice. On motion served within the next 7 days, the court may review the cierk‘s action.

 

RULE 6
(cl) Additionai Time At`ter Certain Kinds of Service.
When a party may or must act within a specii'led time after service and service is made under Ruie$(b)(Z)(C), {D), (E}, or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).
RULE SS{e}
Cost or Fee Awards:

Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. Bnt if a
timely motion for attomey's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule oiAppellate Procedure 4(a)(4} as a timely motion under Ruie 59.

 

 

 

